Case 1:21-cr-00041-JL Document 321-3 Filed 07/17/23 Page 1 of 2
                 Case 1:21-cr-00041-JL Document 321-3 Filed 07/17/23 Page 2 of 2


Summary of Wires Provided via Subpoena Request
Radius Bank, A/C 0642, Ian Freeman
January 2020 ‐March 2020
Deposit Source/Payee                   Total Deposits Total Withdrawals
A           ,A                             $20,000.00
C ,K                                       $75,810.00
D     ,D       .                           $14,600.00
GC Distributors LLC                        $28,245.00
H        ,D                                $45,000.00
J      ,S        . POD                     $10,650.00
L ,S L                                     $22,000.00
M          N        F     T                 $3,666.00
MDM Tax A         and/or Mr. L   C         $30,100.00
M         ,M           .                   $33,000.00
M    ,R             .                      $28,750.00
O ,M              .                         $4,500.00
Prime Trust LLC                                              $291,000.00
Red Hibiscus LLC                            $9,000.00
T         ,N         .                     $31,100.00
Grand Total                              $356,421.00         $291,000.00




April 14, 2023
